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           ORDERED in the Southern District of Florida on August 28, 2017.




                                                      A. Jay Cristol, Judge
                                                      United States Bankruptcy Court
_____________________________________________________________________________
                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 www.flsb.uscourts.gov
                                     Division: Miami
          IN RE:                                           CASE NO: 12-22873-BKC-AJC
          RAFAEL CORRALES-YUNEZ
          DOLORES MARIA CORRALES,
                         DEBTOR(S).
                                  /

                 ORDER GRANTING TRUSTEE’S MOTION TO INCREASE PLAN BASE
               THIS CAUSE came on to be heard on August 22, 2017 on the Trustee's
          Motion to Increase Plan Base, and based on the record, it is
               ORDERED as follows:
               1.    The Trustee’s Motion to Increase Plan Base (ECF #99) is
          granted.
               2.    The Plan is modified to increase the plan base an additional
          $1,968.00 for a total plan base of $82,896.51 for payment to the
          unsecured creditors.


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          PREPARED BY:
          NANCY K. NEIDICH, ESQUIRE, STANDING CHAPTER 13 TRUSTEE
          P.O. BOX 279806, MIRAMAR, FL 33027-9806

          NANCY K. NEIDICH, ESQ is directed to serve a copy of this order on debtor(s)
          and debtor(s) attorney and to file a certificate of service with the Clerk
          of the Court, immediately upon receipt thereof.
